                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:04cr227

UNITED STATES OF AMERICA                            )
                                                    )
                       vs.                          )
                                                    )                        ORDER
                                                    )
VINCENT LASHAWN BONDS                               )


       THIS MATTER is before the Court upon motion of the counsel for the defendant on

appeal to be given access to the presentence report in this case. (Doc. No. 65). The motion

requests that the report be unsealed so that the Clerk’s Office can provide him a copy.

       Title 18, United States Code, Section 3552(d) allows disclosure of the presentence report

to counsel for the defendant. Therefore, appellate counsel is entitled to the report. However, it is

not necessary to unseal the report (thus, allowing public access) to do so. Additionally, the United

States Probation Office, not the Clerk’s Office, maintains the report following sentencing.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is GRANTED in part and

DENIED in part. The U.S. Probation Office is directed to provide counsel for the defendant a

copy of the report. The report, however, remains under seal.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, and the U.S. Probation Office.
                                                 Signed: August 10, 2006




     Case 3:04-cr-00227-RJC-DCK            Document 69         Filed 08/10/06     Page 1 of 1
